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                               IN THE UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                                §
IN RE: Angela Tennyson                                                 CHAPTER 13
                                                                §
       2103 Rittenmore
       Missouri City, TX 77489                                  §      CASE NO. 24-34074-H1
                                                                §
                       DEBTOR                                   §
                                                                §
                      CHAPTER 13 TRUSTEE'S MOTION TO DISMISS OR CONVERT


This motion seeks an order that may adversely affect you. If you oppose the motion, you should immediately
contact the moving party to resolve the dispute. If you and the moving party cannot agree, you must file a response
and send a copy to the moving party. You must file and serve your response withn 21 days of the date this was
served on you. Your response must state why the motion should not be granted. If you do not file a timely
response, the relief may be granted without further notice to you. If you oppose the motion and have not reached an
agreement, you must attend the hearing. Unless the parties agree otherwise, the court may consider evidence at the
hearing and may decide the motion at the hearing .

Represented parties should act through their attorney .

There will be a hearing on this motion on November 19, 2024 at 10:00 am in courtroom at the following address: U.S.
BANKRUPTCY COURT, 515 RUSK, ROOM 404, 4TH FLOOR, HOUSTON, TX 77002-0000.


         TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         David G. Peake, Chapter 13 Trustee moves the court to Dismiss or Convert the above-referenced case for
the following reasons:

         The Chapter 13 Plan must be amended to provide for the claims of the secured and priority Creditors in full
         within the terms of the Plan.

  X      Payments due pursuant to U.S.C. § 1326(a)(1) have not been made.

         Debtors failed to appear for the Meeting of Creditors and this constitutes a failure to appear in proper
         prosecution of the case for purposes of subsequent eligibility under 11 U.S.C. § 109.

         The Debtors have not filed their Federal Income Tax return for the following years: . Therefore the Debtors
         are not able to meet the burden of proving that the Plan complies with 11 U.S.C. § 1322 (a) (2).


         The Debtors have caused unreasonable delay that is prejudicial to the Creditors .

         Other:
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Wherefore, the Trustee requests that the case be dismissed or converted to Chapter 7 , whichever shall be determined
in the best interest of creditors.

Dated: October 22, 2024
                                                             /s/ David G. Peake
                                                             David G. Peake
                                                             Standing Chapter 13 Trustee
                                                             9660 Hillcroft, Ste 430
                                                             Houston, TX 77096
                                                             court@peakech13trustee.com
                                                             (713) 283-5400



                                            CERTIFICATE OF SERVICE


     This is to certify that a true and correct copy of the foregoing Trustee's Motion to Dismiss Case has been served
electronically on all parties requesting electronic notice and has been served on the listed parties (if listed) by mailing
a copy of same to the address listed below via first class mail October 22 , 2024.


Electronically signed by
David G. Peake, Chapter 13 Trustee
9660 Hillcroft, Ste 430
Houston, TX 77096
court@peakech13trustee.com
(713) 283-5400
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Debtor's Attorney of Record:            Debtor:
TRAN SINGH LLP                          Angela Tennyson
2502 LA BRANCH STREET                   2103 Rittenmore
HOUSTON, TX 77004                       Missouri City, TX 77489

BLUE RIDGE WEST MUD                     CARMEN P TURNER MPA PCC CTOP
11111 KATY FWY #725                     FORT BEND COUNTY TAX
HOUSTON, TX 77079-2197                  ASSESSOR/COLLECTOR
                                        1317 EUGENE HEIMANN CIRCLE
                                        RICHMOND, TX 77469-3623

CORNERSTONE                             CREDIT ONE BANK
PO BOX 82561                            PO BOX 98873
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HUNTERS GLEN ASSOCIATION                ROBERTSON ANSCHUTZ SCHNEID CRANE &
C/O MARSHALL MANAGEMENT GROUP INC       PARTNERS PLLLC
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STAFFORD, TX 77477                      ALPHARETTA, GA 30004-5197

THE BANK OF NEW YORK MELLON             TRAN SINGH LLP
13010 MORRIS ROAD SUITE 450             2502 LA BRANCH STREET
ALPHARETTA, GA 30004                    HOUSTON, TX 77004

US DEPARTMENT OF EDUCATION
C/O NELNET
PO BOX 2837
PORTLAND, OR 97208
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION


IN RE:                                                       §     CASE NO. 24-34074-H1
                                                             §
Angela Tennyson
                                                             §
                                                             §
DEBTOR                                                       §
                                                                   CHAPTER 13
                                                             §
                                              ORDER OF DISMISSAL

     1.   On the chapter 13 trustee’s motion, this case is dismissed. The Court’s reasons for dismissal were
          stated on the record in open court.

     2. The deadline for filing an application for an administrative expense in this case is set at 21 days following
        entry of this order. The deadline for filing a motion for allowance of a claim arising under § 507(b) in this
        case is also set at 21 days following entry of this order .

     3. If an application for allowance of professional fees and expenses has previously been filed in this case ,
        the applicant is not required to file a new application for allowance of administrative expenses under §
        503, if the new application only seeks allowance of the same professional fees and expenses previously
        requested.

     4. Any prior order directing an employer or other person to pay funds to the chapter 13
        trustee is terminated. Any prior order authorizing an ACH or other means of electronic payment is
        terminated.

     5. The Court finds good cause to direct the payment of funds held by the chapter 13 trustee at the time
        of entry of this Order as follows:

          (a) First, the balance on hand in the Emergency Savings Fund will be paid to the
           Debtor(s);

          (b) Second, to any unpaid chapter 13 trustee’s statutory compensation;

          (c) Third, the balance on hand in the Reserves for ad valorem taxes , to the holder of the
          claim secured by the senior security interest against the property for which the Reserves
          were established;

          (d) Fourth, the balance in any other Reserve account to the Debtor;

          (e) Fifth, to any unpaid payments mandated to be made by the Trustee under a prior
          Court order, including but not limited to any mandated adequate protection payments;

          (f) Sixth, to pay any unpaid fees to Debtor(s)’ attorneys and to reserve for any filed
           applications for which no order has yet been entered; and

          (g) Seventh, to the Debtor(s).
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Any party-in-interest objecting to the “for cause” distributions under this paragraph 5 must file an objection within
14 days of entry of this Order. The Chapter 13 Trustee will defer making distributions under this paragraph 5 until
the next ordinary disbursement date following the later of (i) 22 days following entry of this Order; or (ii) entry of an
order resolving any timely filed objection .


Dated:


                                                            MARVIN ISGUR
                                                            United States Bankruptcy Judge
